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               SUPREME                 COURT
               STATE            OF NEW YORK                                    COUNTY                  OF       ONONDAGA



               TOWN             OF SALINA,               NEW YORK,

                                                                                             Plaintiff,                                   Summons


                                                                                                                                          Index        No.
                            -against-




               CWP SYRACUSE                           I LLC,



                                                                                             Defendant.




               TO THE             ABOVE              NAMED           DEFENDANT:


                            You       are hereby          summoned                     to answer          the    Complaint              in this       action        and     to serve     a copy        of your

               Answer,       or,      if the     Complaint               is not        served          with     this   summons,                to serve         a Notice         of Appearance,               on
                   plaintiffs'
               the                        attorney        within           20        days      after      the    service         of     this    Summons,                  exclusive       of     the   day    of
               service      (or     within       30 days         after         the     service         is complete          if this      Summons               is not      personally          delivered      to
               you     within       the      State    ofNew         York);             and       in case      of your       failure        to appear            or answer,            judgment         will   be
               taken      against         you    by    default           for     the     relief        demanded            herein.




                                                                                                                        B             win,1utphé rfE                   Frat               I LLC
                                                                                                                           oseph          Frateschi,            Esq.
                                                                                                                        Attorneys              for     Plaintiff
                                                                                                                           126    North         Salina         Street,        Suite     400

                                                                                                                        Syracuse,              New           York       13202

                                                                                                                        Telephone:                   (315)      477-0100




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                SUPREME                     COURT
                STATE              OF       NEW YORK                              COUNTY                      OF      ONONDAGA



                TOWN             OF SALINA,                    NEW             YORK,


                                                                                                 Plaintiff,                                          Verified             Complaint



                                                                                                                                                     Index          No.
                              -against-




                CWP SYRACUSE                             I LLC,



                                                                                                 Defendant.




                              Plaintiff,           Town         of     Salina,          by    and      through             its attorneys,                Baldwin,            Sutphen        &    Frateschi,             PLLC,


                as and       for     its    Verified           Complaint                 against          Defendant                 CWP            Syracuse           I LLC,          alleges          as follows:


                                                                                              NATURE                   OF         ACTION

                                                                                                                                                                          ("Town"
                              1.              This           action        is     brought            by        Plaintiff            Town            of     Salina                               or     "Plaintiff")             to



                immediately                 halt       the      deliberate,               hazardous                and          unlawful            conversion                 of    a hotel           known            as    the


                                                         ("Candlewood"
                Candlewood                  Suites                                              or   "Hotel")                  located       at 54I4             South        Bay      Road          in    the      Town        of



                Salina,      County            of Onondaga,                     State        of New           York       (the      "Property"),                 in violation           of the Town                Code       (the



                "Code")            Chapter         235        entitled           Zoning.


                             2.               On May                5, 2023,        the      Mayor            ofNew             York       City,         the    Honorable            Eric   Adams                announced


                          "program"
                a new                              to provide             up to four             (4)      months               ofhousing             for       individuals           now        in the       care     of New


                                                                                                                                                                                                     "Program").1
                York      City       (the      "City")          in     rural      and        residential             counties              in Upstate              New        York       (the


                                                               Adams'
                             3.               Mayor                                Program              gives         no        regard        to     local         zoning,          building,             fire    and      code


                                                                                 "selected"
                provisions           governing                the     sites                            by      the    City,         including              sites    within          the County             of Onondaga


                and    the    Town           nor     to the          integrity           of the        site     selected.




                ' Mayor                     Announces      Program       to Provide Shelter Option for Asylum Seekers Already                                                           in Care        in Nearby         New
                             Adams
                York Counties              https://www.nve.gov!office-of-the-mavor/news/322-23/mavor-adams-orogram-provide-shelter-
                option-asylum-seekers-already-care-in                                   (Last    accessed            May        22, 2023).
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                               4.                   Upon             information                   and     belief,          Candlewood                       has been        identified              as one         of these          sites.          It



                has     ceased            operating                  in conformance                       with        the    Code          and         the    Certificate             of Occupancy                     issued          for     this



                Property,            and,           based            upon       site     inspections                    conducted               by      Town        staff,        is in the          process            of more              fully


                converting                fully          to    an illegal              long-term                  residential              facility.



                               5.                   Defendant                 must        therefore                 be restrained                 and         enjoined            from         further           altering        the      Hotel


                for    this    intended                  long-term              residency                 use and           accepting                overflow            housing            from          New        York        City        until


                required            approvals                  and         permits            are     obtained              for     this        change          of use         at the          Property.


                               6.                   The         Town          accordingly                    seeks          from         this     Court         an Order              and       Judgment:                (a)     declaring


                that     Defendant's                      change            in use       of the           Property              to a long-term                  residential              facility          is in violation                of the



                Code,         Section             235-53(A),                  (b)      declaring               that       the     Defendant's                  change           in use          of the      Property             to a long-


                term      residential                    facility          is in violation                   of     the     Code,           Section            235-50(A),                (c)     temporarily                   restraining


                and     enjoining                 the      Defendant                 from          receipt          of overflow                 housing           from         New        York            City      until      such       Hotel


                                                                                                                                                                                            attorneys'
                is returned               to      its     allowed            use,       (d)         ordering            Defendant                to      pay     reasonable                                          fees,       costs         and



                disbursements                       of     Plaintiff           in bringing                 this       action,           and      (e)     granting           the       Town          such         further        relief         this


                Court         deems            just        and        proper.


                                                                                              JURISDICTION                                 AND           VENUE


                               7.                   This         action         is brought                 pursuant               to    New          York        State         Town            Law        Section            135,        which


                permits         the       Town                Board         of the       Town             to "maintain                   an action             or proceeding                    in the      name            of the       Town



                in     a court           of     competent                   jurisdiction                  to      compel               compliance                with        or    to     restrain           by       injunction                   the


                violation           of        any        [Town]             ordinance,                rule        or regulation,                  notwithstanding                        that       the     [Town]             ordinance,


                                                                                                                                                                                        violation."
                rule     or   regulation                    may        provide            a penalty                or     other         punishment                for     such                                     See       N.Y.        Town



                Law       Section               135(1);              see     also      Town              Law        Section             268.


                               8.                   Venue             is proper               in    the      County             pursuant               to New           York          CPLR           Section           503(a)            which



               provides             for        venue           "in     the      county              in which              one     of     the     parties         resided           when          it was           commenced;                   the



                county         in which                  a substantial                 part        of the         events          or omissions                 giving          rise      to the       claim          occurred;               or,     if


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                none        of    the        parties             then      resided                in   the         state,         in     any        county             designated               by     the       Plaintiff",             because



                Defendant               owns             and      operates                the     Hotel        within             the        boundaries                 of Onondaga                  County              and     in the Town



                which        is wholly                   located          within                the    County               of    Onondaga.


                                                                                                                            PARTIES


                                 9.                 At     all    times              hereinafter             mentioned,                        Plaintiff           is and         was     a duly           constituted              municipal



                corporation                  in     the      State         of         New         York         having                  jurisdiction                over         the     health,            safety        and       welfare             of



                matters           within            the     geographical                         confines            of      the        Town            of    Salina,           New       York.


                                 10.                Upon           information                        and     belief,             at     all      relevant              times         herein,          Defendant                 is a foreign


                limited          liability               company                duly            organized              and         existing                under         the      laws      of       the      State       of      New          York,



                having           a place            of    business               at 5414               South          Bay          Road,           North           Syracuse,             New           York            13212.


                                 1 1.               Defendant                   owns            and        operates               the        Hotel,          which         lies       at the      Property.                A      copy        of   the


                Bargain               and      Sale         Deed           by         which            Defendant                       acquired              an        ownership            interest              in     the      Property               is


                attached              hereto         as Exhibit                      A.



                                                                  FACTS                   COMMON                       TO ALL                      CAUSES                  OF ACTION


                       A.        Candlewood


                                 12.               At      all    relevant                times        herein,              the        Property              is located            in the        C-3       Planned              Commercial


                District          Zone            ("C-3           District"),                   as defined                and          regulated              under            Chapter           235        of     the     Code             entitled


                Zoning.               Under          the         Code,          hotels           are       an allowed                   use       in the          C-3     District.


                                                                                                            "hotel"
                                 13.              The            Code            defines               a                           as        "a       multiple             dwelling              containing                    facilities          for



                temporarylodging                               and       including                what        are commonly                            termed            motels,         motor          inns,        tourist        homes           and


                                                                                ."
                similar          residential                uses         . .              See     Code,            Section              235-2          (emphasis                  added).


                                 14.              At       all    relevant                times        herein,            the      Property                has     a Certificate                of Occupancy                     authorizing


                the    use       of    Candlewood                        as a hotel.


                       B.                                2023        -                            2023         -     The          Local            State          of                                 and         the     Phone           Call
                                 May          18,                         May             22,                                                                           Emergency




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                                15.              In    anticipation                 of        an         influx          of         individuals             entering           Onondaga                  County           pursuant              to



                Mayor         Adam's              Program,                on       May              18,      2023,             the      Onondaga                 County           Executive                J. Ryan            McMahon

                                                                            Order"
                issued        "Local           Emergency                                            No.          1 which                prohibited               any      hotel        in     Onondaga                  County             from



                contracting             with          external          municipalities                           for     the purpose                  of providing             housing             or accommodations                          for



                migrants          without              a license            issued             by         Onondaga                    County.



                                16.               On Saturday,                     May              20,      2023,             Town         Supervisor                 Nicholas             Paro         ("Supervisor                 Paro")


                received          a call          from          a member                 of         Mayor              Adam's               office,         Christopher                 Ellis,       Director            of     the        State



                Legislative             Affairs           for     the       City         of     New              York           ("Director              Ellis").



                                17.              During           the     call,      Director                    Ellis         identified             Candlewood                  as a location               that      would          house



                approximately                    200      individuals                for            up     to     four          (4)     months.             Director           Ellis        also     informed              Supervisor



                Paro     that     these          individuals                would              be arriving                      at the         Hotel        on     Wednesday,                    May       24.



                                18.              On May             22,        2023,            the        Town                Board        authorized                 the    commencement                         of    litigation               to



                preserve          the     status         quo.


                       C.        May           22,      2023:         The          Town              Office              of         Planning            &     Development                     (the        "Codes          Office")

                              Site       Visit         and        Confirmation                             of     Changing                  Use



                                19.              On May             22,     2023,             the         Town's               Director           of Planning                 and      Development                   Mark           Lafayer



                ("Lafaver")              visited          Candlewood                          for        an inspection.



                              20.                Upon           arriving,           Lafaver                      spoke          with        certain          staff       at the        Hotel         who         advised            that     the



                employees               were          preparing             for     a large                influx              of     individuals             from        New          York        City.



                              21.                Mr.      Lafayer              was            also         informed                   by    certain           staff      at the         Hotel          that      it was         currently



                                 individuals,                  some         in excess                of one              (1)        year,      and,     had        evicted        certain          tenants         at the       Property
                housing


                to make          room          for      this     large         influx           of individuals.


                              22.                Lafaver           subsequently                           informed                  Hotel       personnel              that   (i) the       change            in use of the Hotel



                to a long-term                 residential              facility,             and         (ii)     certain             modifications                   underway             including,            but,        not     limited



                to being         converted               into      an office              for        staff        to manage                 the       asylum           seekers         were        not     permitted           under          the




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                                                               "Hotel"
                Code's          definition              of                        nor      permitted                 by     the        current         Certificate                  of    Occupancy                 maintained                for



                the     Property.



                                23.               As     a result,           Lafaver          issued              an Order              to Remedy                 Violation                 on May          22,      2023,         advising


                the     Hotel         that       it was        in    violation             of the           Code.



                                                                       AS AND                 F    OR A FIRST                          CAUSE                OF ACTION
                                                          Judgment                  -     Property                 Used           in    Violation                 of    the                       Section
                           (Declaratory                                                                                                                                          Code,                               235-53A)

                                                                                                                                                                                                              "1"                          "23"
                                24.               Plaintiff            repeats          and       realleges               the     allegations               set forth          in Paragraphs                              through



                hereof        as if fully              set     forth        herein.


                                25.              At     all     relevant            times          herein,           the        Defendant's                 use        of     the        Property          is and         continues               to


                violate         the     Code,           Section             235-53A.


                                26.              The         Code,          Section           235-53A                 provides,               in pertinent                  part,        that     it shall        be unlawful                 for



                any      person,          firm        or corporation                    to "allow              any         building           or land         to be used                  or occupied               or any         building


                or part         thereof           to be        . . . altered              except             in    conformity                  with         the        regulations                herein       set        forth      for      the


                                                                located."
                district        in which               it is


                                27.              As      set        forth        herein           and        in      the        accompanying                       Affidavits                   supplied            in    support,            the


                Defendant              is continuing                    to change             the          physical             arrangement                  of the           Hotel          to accommodate                        services



                not     ordinarily               allowed             by      a Hotel              (i.e.,      an      office           to    administer                 governmental                       benefits           to     asylum


                                                                                                                                                                                                           "temporary"
                seekers         and/or           migrants)              and       people           who            are staying               at the     Hotel            on more              than    a                                basis,


                which         is not         an allowed                use       within           the       C-3      District               in which          the        Hotel            sits.


                                28.              Therefore,                 by      reason            of     the      foregoing,                 the        Town            seeks           an    Order        from           this    Court



                enjoining             Defendant                from         making            any          further          alterations              to the        Hotel            to facilitate            this        violative         use,


                and      deeming             this       unlawful              use       to be an express                         violation             of    the        Code.


                                                                    AS AND                FOR              A SECOND                         CAUSE             OF ACTION
                           (Declaratory                  Judgment                   -     Property                 Used          in     Violation                 of    the                       Section
                                                                                                                                                                                 Code,                              235-50A)

                                                                                                                                                                                                              "1"                          "28"
                                29.              Plaintiff             repeats          and       realleges               the allegations                   set forth          in Paragraphs                             through



                hereof        as if fully              set     forth        herein.


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                                 30.               At     all       relevant             times        herein,            the     Defendant's                     use      of      the     Property              is and           continues                 to



                violate          the    Code,             Section                 235-50A.


                                 31.               The         Code,              Section         235-50A                provides,                 in pertinent             part,        that      no land          shall        be occupied



                and       no     building                hereafter                 erected,           altered             or     extended               shall          be      used          or      changed               in        use     until          a



                certificate            of     occupancy                      shall        have        been          issued          by       the     Director            of     Planning                and        Development.



                                 32.               As      set         forth           herein         and      in        the     accompanying                           Affidavits                 supplied               in     support,            the


                Defendant               has        changed                  the     use      of   the        Hotel,            and,        is continuing                  to change                  the    use      of        the    Hotel          to a


                use      that     is not          allowed              per         its   Certificate                of    Occupancy                   (i.e.,       a non-transient,                        long-term                 residential



                facility)         nor        has        Defendant                    applied          for      an        amended               Certificate                of    Occupancy                     or    other            applicable,


                required           municipal                    approvals.


                                 33.               Therefore,                     by     reason         of      the       foregoing,                  the        Town          seeks            an      Order        from             this        Court



                enjoining              Defendant                    from          making          any        further            alterations             to the          Hotel           to facilitate              this        violative            use,


                and      deeming              this       unlawful                  use      to be       an express                    violation             of    the       Code.


                                                                            AS AND                FOR A THIRD                                CAUSE                OF ACTION
                                                                (Temporary,                       Preliminary                          and         Permanent                   In junction)


                                                                                                                                                                                                                    "1"                            "33"
                                 34.               Plaintiff                repeats         and       realleges            the        allegations                set forth          in Paragraphs                               through


                hereof          as if fully              set        forth         herein.


                                 35.               For         the      reasons             set    forth         herein,               Defendant                 must          be       enjoined             from          receipt           of      any


                individuals              pursuant                   to the          Program             or     pursuant                to     any     other         plan          of     New          York         City         to relocate                 a


                significant             number                 of     individuals                 to the        Hotel            for        long-term             housing.



                                 36.              In short,                 the    Defendant                 must        be enjoined                  from         participating                     in any        program                 that     will



                result      in    violations                   of     local         zoning         regulations.


                                 37.               Here,             injunctive              relief          should            be      issued          because              (a)        the      Town          has         a likelihood                 of



                success           on        the      merits             of        the     actions,            (b)        the      equities             are        balanced               in       the      Town's               favor         in     the




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                enforcement                   of     the         Code,           and          (c)     while          unnecessary                   to     obtain           injunctive               relief        in       this      instance,


                irreparable              harm          will         occur         to the             Town          if the         status      quo         is not          maintained.


                                 Likelihood                   of     Success                  on     the     Merits



                                 38.               The        Town             is likely             to succeed              on the         merits            because           the      conversion               of the           Hotel        into



                a non-permitted                      use         without            obtaining                 the     appropriate                  approvals                is prohibited                  by     the       Code.



                                 39.               From            the     direct             observations                  of     Supervisor                 Paro        and       Lafaver,             the    conversion                   of the


                Hotel       to the         non-permitted                         use          is already             underway.


                                 40.               It is evident                 that         the     Defendant's                  continued              preparation                 for     receipt          of such            individuals



                specified              herein        will        only          further          commit              the     Defendant               to a course                 of action           that       will        further      violate



                the      Code.


                                 41.                Accordingly,                        it is likely              that       the     Town          will         succeed             on      the     merits            of    enforcing             its


                Code.



                                 Balancing                  of     the         Equities



                                 42.               The        balancing                  of     the       equities          favors          the     Town.


                                 43.               If the        Defendant                     is enjoined,                 the     Defendant                 will        merely            be enjoined                from          using       the



                Property           for     an       illegal          use.         In other                words,           the      Defendant                 loses        nothing.


                                 44.               However,                    if the         Defendant               is not         enjoined,                the     Town          will      be forced                to deal         with       an


                influx      in its resident                   population                      that    was      never             intended          for        at this       site,     and,        that     the Town                has not       set



                aside      adequate                resources                   to handle.


                                 45.               Accordingly,                     the        balancing               of        equities         favors            the    Town.


                                 Irreparable                     Harm


                                 46.               Though                the    Town               need     not      demonstrate                   irreparable               harm           in this       instance,            harm          could



                very      well         come         to the          Town            if the           Defendant                   is not     enjoined.



                              47.                  If the        Defendant                    is not       enjoined,               irreparable                harm        may        very      well        be done            to the Town


                as Town            residents                may          begin          to question                  the     validity         of        the     Town's              Code.


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                            48.            The      Town        has        no     other         adequate                remedy           at law,         and         the      Defendant                  has      no     right     to



                change      the    use     of    the   Hotel        without            obtaining                  the     necessary             approvals.



                            49.            Accordingly,               this         Court           should               issue       an        Order           temporarily,                      preliminarily,                   and



                permanently             restraining          and    enjoining                Candlewood                     from         further        altering              the    Hotel          for     this       intended


                long-term         residency            use      and        accepting               overflow                 housing             from           New            York          City          until        required



                approvals         and     permits       are      obtained              for      this     change             of    use        at the     Property.



                            WHEREFORE,                         Plaintiff           respectfully               requests             the        entry      of an Order                  and        Judgment                against



                Defendants,         as follows:



                                           (1)    On Plaintiff               s First         Cause           of     Action,             declaring             that      Candlewood                        is in violation


                                                  of   the    Code.



                                           (2)    On Plaintiff              s Second               Cause            of Action,                declaring              that      Candlewood                      is in


                                                 violation          of      the     Code



                                           (3)   On Plaintiff's                   Third         Cause         of        Action,          temporarily                 restraining                  and      enjoining


                                                 the    Defendant                 from        further             alterations             to the        Property,                 and,      further,



                                                 temporarily                restraining                and        enjoining              the    Defendant                   from          receiving               or



                                                 participating                  in any        agreement                  with      the        City      of     New          York          (or      its    agents)          that


                                                 otherwise            renders             the     Property                in non-compliance                            with         the     Code,          and,         further,


                                                 permanently                    restraining             and        enjoining                 Defendant               from         further           activities



                                                 associated              with       receiving              individuals                  in     accordance                  with       the        Program               or like



                                                 programs.



                                           (4)   Directing            the       Defendant                to pay           for     the     reasonable                 attomey's                  fees,      costs         and


                                                 disbursements                    of   the       Plaintiff              in bringing              this        action;          and



                                           (5)   Granting           Plaintiff             such         further           relief     that        this     Court             deems          just      and        proper.




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               Dated:   Syracuse,     New   York

                        May    23,   2023




                                                                   Bald4w              u           en     &   Frateschi,      PLLC
                                                                   Jose         V.         rateschi,          Esq.

                                                                   Attorneys         for      Plaintiff
                                                                   126    North        Salina           Street,      Suite   400

                                                                   Syracuse,         New           York        13202

                                                                   Telephone:              (315)        477-0100




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               SUPREME              COURT
               STATE         OF NEW YORK                                  COUNTY              OF      ONONDAGA



               TOWN         OF SALINA,                 NEW YORK,

                                                                                    Plaintiff,                                   Verification



                                                                                                                                 Index         No.
                           -against-




               CWP SYRACUSE                        I LLC,



                                                                                    Defendant.




                STATE        OF NEW            YORK                   )
               COUNTY           OF ONONDAGA                           )     SS.:



                           Nicholas           Paro,    being         duly     sword,      states        that    he     is the        Supervisor         of    the    Town      of   Salina,     the

               Plaintiff     in this   action,         and    that    the     foregoing           Verified          Complaint           is true      to his    own    knowledge,          except

                as to matters       therein        stated     to be alleged            upon       information           and     beliefand            those     matters      he believes       them

               to be true.




                                                                                                                             olastaro,            Supervisor

                                                                                                                       own      of    Salina
                                                                                                                ,



                                                            23rd
                Swom       to before       me this

               day    of May,       2023




                              Ota
                                                       N M. SMITH
                                Nor                   . -  - e .. aw York



                            My Comm           an      Exp res J une 12, 20                    .




                                                                                                         11



                                                                                   11 of 11
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                                             Exhibit            A


                                  Bargain         and        Sale       Deed



                                      [Attached              hereto.]




                                                       A-1
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                                             Montgomery
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                                                                                          Room    200
                                                                                         Syracuse,      NY    13202

                                                                                         (315) 435-2229


                                                       Onondaga                County        Clerk         Recording             Cover           Sheet

 Received        From       :                                                                        Return     To :
   SIMPLIFILE                                                                                             SIMPLIFILE

                                                                                                                                                  Method    Retumed    : ERECORDING

  First    PARTY       1
  RSS COMM2014                      CR18     NY SAS    LLC



  First    PARTY       2
  CWP SYRACUSE                      I LLC




 ndex     Type       : Land Records

 ristr     Number           : 2022-00023993
 Sook       :                                          Page      :

 Type of instrument                 : Deed
 rype     of Transaction             : Deed Comm        Or Vacant

 tecording       Fee:                                            $330.50
                                                                                 The Property     affected     by this instrument       is situated   in Clay , in the County   of
                 Pages          :                                          7     Onondaga,       New York
 tecording



                     Real Estate            Transfer   Tax                                        State    of New York

                                                                                                  County      of Onondaga
 TETT # :                                                            11876
                                                                                                  I hereby     certify that the within and foregoing         was
 3eed Amount           :                               $4,868,750.00
                                                                                                  recorded      in the Clerits office for Onondaga
 RETT Amount            :                                    $19,476.00                           County,     New York


 “otal    Fees   :                                           $19,806.50                           On (Recorded                 ; 06/15/2022
                                                                                                                       Date)

                                                                                                  At (Recorded        Time)     2.56:08     PM




                                                                                                          Lisa Dell, County     Clerk




                            This sheet constitutes           the Clerks endorsement     required by Section 319 of Real Property Law of the State of New York

                                                              Entered By: RSWEENIE       Printed On : 06/15/2022               At : Femp)umber:              2D22-00023993            Seq:   1
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                                                                                     SECTION:                   058           BLOCK:                01      LOT:         03.2       Town          of    Salina
                                                                                     SECTION:                      118        BLOCK:                02      LOT:         04.0       Town          of    Clay




                                                      BARGAIN                       AND         SALE           DEED                WITH            COVENANTS
                                                                                   AGAINST                  GRANTOR'S                            ACTS



                            THIS                                             made           effective          as of April                               2022      between          RSS        COMM2014-
                                       INDENTURE,                                                                                         29_,
            CR18-NY                 SAS,       LLC,          a New            York           limited        liability          company               ("Grantor"),                 whose        address          is c/o

            Rialto      Capital         Advisors,               LLC,           200      S. Biscayne                 Boulevard,                   Suite      3550,        Miami,        Florida          33131,         in
            favor      of     CWP            SYRACUSE                        I LLC,            a Delaware                limited            liability           company           ("Grantee"),                 whose
            address          is 230     5th         Avenue,           New           York,       New         York         10001:


                                                                               WITNESSETH                                               THAT:

                            Grantor,          for     and      in         consideration                of    the     sum           of    Ten        and     No/100           U.S.      Dollars          ($10.00),
            lawful      money           of the        United              States      of America,                and         other        good       and        valuable         consideration,                to it in
            hand      paid     by Grantee,              at or before                 the unsealing                 and       delivery            of these        presents,          the receipt         of which

            is hereby          acknowledged,                    has         granted,            bargained,               sold,          aliened,         remised,          released,         conveyed             and

            confirmed            and         by     these       presents               does       grant,           bargain,              sell,     alien,        remise,          release,        convey          and
            confirm          unto      Grantee          and         its     successors            and       assigns            forever,            the    parcel      of land,         situate,        lying      and

            being      in     the   County             of     Onondaga,                  State         of   New          York,            and      more         particularly           described           on      the
            attached         Exhibit     A (the               "Property").


                        Being          the    same          premises               known         as 5414           SouthBay Road,    North                            Syracuse,           New          York,      and
            conveyed           to Grantor             by     deed           recorded           on May           5, 2021  under Instrument                                No.      2021-00019433.


                        Subject            however,            only          to:



                        (a)             Real         property              taxes      and       assessments                  for    the     year         2022      and     thereafter;


                        (b)             Zoning          and         other          regulatory           laws        and       ordinances                 affecting         the     Property;


                        (c)             Matters             which           would        be disclosed                   by    an accurate                survey;         and


                        (d)             Easements,                  plats,          rights       of     way,        limitations,                  conditions,            reservations,             covenants,
                                        restrictions,               and       other         matters         of record.




            MIAMI      8932502.1 80265/300009




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                               TOGETHER                     with         all   right,       title     and     interest,        if any,          of Grantor,           in and    to any        streets     and
                  roads      abutting          the      Property         to the         center        lines      thereof;           TOGETHER                   with     the    appurtenances              and
                  all the     estate      and        rights    of Grantor               in and        to said       Property;


                               TO        HAVE             AND        TO           HOLD              the     Property           herein           granted        unto      Grantee,           the   heirs      or

                  successors,            and    assigns         of Grantee                forever.


                               AND          Grantor          covenants               that         Grantor         has        not     done        or    suffered         anything          whereby          the

                  Property         has    been          encumbered                in any      way         however,           except         as aforesaid.


                               AND         Grantor          in compliance                   with      Section         13 of the           Lien        Law,     covenants           that     Grantor       will
                  receive      the     consideration               for     this     conveyance                and     will         hold   the     right      to receive        such       consideration
                  as a trust       fund        to be applied              first     for     the      purpose        of paying             the     cost       of the    improvements               and     will

                  apply      the     same       first     to the     payment               of the         cost    of the           improvements               before      using       any     part    of the
                  total     of the     same       for     any    other         purpose.


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                                                                                                                                                      File      Number:               2022-00023993               Seq:   3
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                         Grantor        has    caused       these     presents                 to be executed               the          day     and       year    first     above          written.


            Witnesses:
                                                                                                    RSS          COMM2014-CR18-NY                                          SAS,       LLC,             a New
                                                                                                    York         limited          liability            company

                                                                                                                                    Cap'
                                                                                                    By:            Rialto                                Ad         ors,     LLC,           a Delaware

                                                                                                                   limited           r         ility     c        pany,      its           Iager




             Signature:                                                                                             By:
             Print     Name:                                                                                       Name:                         b
                                                                                                                   Title:           Managing                  Direct
             Signature:
             Print     Name:                     1h        Kolf           /l         f




           STATE          OF        FLORIDA                                      )
                                                                                 )       SS.
           COUNTY               OF MIAMI-DADE                                    )

                                               ®'Y
                                      On       March         23       ,        2022              before          me,        the          undersigned,                   personally                 appeared

                   Aelam
                                 Sp                   , by means           of    _             physical          presence           or     __          online      notarization,              personally
           known        to me or proved            to me      on the           basis           of satisfactory             evidence               to be the         individual             whose        name

           is subscribed             to the    within       instrument                   and     acknowledged                 to         me      that      he executed              the     same        in his

           capacity,         that    by his    signature          on the        instrument,                the    individual               or the        person         upon        behalf         of which
           the     individual         acted,     executed           the        instrument,                and      that      such          individual              made          such        appearance
           before      the      undersigned         in the     City       of Miami,                 the    County           of Miami-Dade                         and      the     State     of Florida.




                                                 MATTHEW         HENKEL
                                                                      Florida
                                               Notary Public-State of
                                                Commission     # HH 183616
                                                 My commission     Expires                                                          Public
                                                                                                                  Notary
                                                                                                                   Print     Name:
                                                                                                                   Serial      No.         (if     any):


           After  recording,    return  to:
           First American Title Insurance Company
           112 E. Pecan Street, Suite 2600
           San Antonio, Texas 78205
           Attn:    James Cardenas




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                                                                                                                                                 File         Number:               2022-00023993                Seq:   4
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                                                                               EX(BIT             A


                                                                    LEGAL             DESCRIPTION
                                                                                       1 of3




                          ALL that certain plot piece or parcel of land, situate, Wing and being in the Town of Salina and Clay,
                                                                                                    said Town of Salina and part of Iot
                          County of Onondaga and State of New York, being part of Lot No. 8 in
                          No. B1 in seld Town of Clay, and being more particularly    described as follows:


                          BEGINNING         at the intersection of the southerly       boundary   of CoL Eileen    Colline    Boulevard     with     the
                          easterly     boundary  of South Bay Road;

                          RUNNING      THENCE    North 85 degrees 16 minutes 40 seconds East, along said southerly                        boundary      of Col
                          Eileen Colline Boulevard,   a distance of 91 92 feat to an angle point therein;

                          THENCE     South 72 degrees 20 minutes 80 seconds East continuing        along said southerly                  boundary      of CoL
                          Eileen Collins Boulevard,  a distance of 258.00 feet to a point therein;

                          THENCE        through   said lands conveyed    to Patrick    M. Tucci, Et A1, the following        courses and distances:


                          L    South    18 degrees 18 minutes    18 seconds West, 209.30 feet;

                          2.   North    71 degrees 41miantes     42 seconds West, 143.00 feet·

                                                                                                                                          "A" for future
                          3.   South 18 degrees 18 minutes       18 seconds West, 60.00 feet to point       designated        as Point
                               reference;

                          4.   North    71 degrees 41 minutes 42 seconds West, 224.06 feet to a point             in the aforementioned            easterly
                               boundary     of South Bay Road;

                          THENCE        along amid easterly   boundary   of South Bay Road the following          courses and distances:


                          1. North      32 degrees 40 minutes    20 seconds East, 6.97 feet;

                          2.   North    17 degrees 44 minutes    80 seconds East, 150.00 feet:

                          3.   North    36 degrees 27 minutes    20 seconds East, 78E7 feet to the point          of BEGINNING.




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                  TOGETHER      with the benefite and subject to the burdens of a certain easement for access recited in an
                  easement and maintenance       agreement by and between Gulf & Western Aero Development,      LLC and
                  Syracuse Airport   Express, LLC dated as of 3/24/2006 and recorded 8/31/2006 in Liber 4933 of Deeds, page
                  927 as described as foHows:


                  BEGINNING       at a point in the easterb boundary of South Bay Road, said point being the intersection  of
                  the division line between lamia conveyed to Robert F. Baldwin,  Jr. and Denise J. Tucci by deed recorded
                  in Onondaga County Clerk's Of5ce in Book 4512 of Deeds at page 249 on the South and said lands
                  conveyed to Patrick M. Tucci, C. Andrew Pappas, Lucien P. Ali and Robert B. Cox on the North with said
                  easterly boundary    of South Bay Road;


                  RUNNING          THENCE        North 17 degrees 44 minutes      80 seconds East        along said easterk             boundary      of South
                  Bay Road, a distance          of 65.86 feet to a point therein;

                  THENCE         through      said lands    conveyed   to Patrick   M. Tucci, Et Al the foEowing          courses      and distances:

                  1.   South     72 degrees     15 minutes      30 seconds East, 44.00 feet;

                  2.   North     86 degrees     06 minutes      27 seconds East,    206.19   feet;

                  S.   North     18 degrees     18 minutes      18 seconds East, 188.27 feet;

                  4.                                                                                           "A"
                       South    71 degrees      41 minutes      42 seconds East, 25.00 feet to a point               as referred      to in the first    above
                       described    parcel;

                  5.   North     18 degrees     18 minutes      18 seconds East, 60.00 feet;


                  6.   South    71 degrees      41 minutes     42 seconds East,     15.00 feet;

                  7.   South 18 degrees 18 minutes  18 seconds West, 280.55                  feet to a point    in a southerk         boundary       of said
                       lands conveyed to Patrick M. Tucci, Et Al;

                  THENCE     South 86 degrees 06 minutes               27 seconds West along said souther5              boundary,       a distance      of
                  296.21 feet to the point of BEGINNING.

                  SUBJECT       TO AND TOGETHER          with a sanitary   sewer easement 20 feet in width                    lying     10 feet each side
                  of the following  described centerline     of a proposed sanitary sewer-


                  BEGINNING      at an existing            sanitary sewer manhole, said manhole being about 235.4 feet distant easterk
                  from said easterk   boundary             of South Bay Road and about 7.6 feet northerk from said southerb   boundary
                  of lands conveyed to Patrick             M. Tucci, et al;

                  RUNNING         THENCE     North 26 degrees 07 minutes 85 seconds east along said centerline                           of a proposed
                  sanitary     sewer and its northerk  prolongation a distance of 312.0 feet to a point.




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                            SUBJECF        TO AND TOGETHER         with a drainage easement     20 feet in width     lying   10 feet each side of the

                            following     described centerline of a proposed storm sewar:


                            BEGINNING         AT A POINTin       the easterly boundary of said South      Bay Road, said point     being the
                            southwesterly      corner of the first above described parcel;


                                           THENCE          South 71 degrees 41 minutes 42 seconds East     along the southerly     boundary     of said
                            RUNNING
                            first described parcel,        a distance 199.06 feet to a point therein;


                            THENCE        North    56 degrees 57 minutes 38 seconds East continuing        along   said proposed   centerline   of a
                            proposed      storm   sewer, a dietance of 72.87 feet to a point;

                            THENCE    South 73 degrees 08 minutes 29 seconds East           continuing  along said centerline   of a proposed
                            storm sewer, a distance of 122.51feet to the southeasterly        corner of said first above described parcel


                            TOGETHER          with the benefits of those covenants and restrictione  appurtenant         to the land   as set forth    in
                            Declaration      of Covenants and Restrictions   recorded in Liber 4983, Cp 939.




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                                                                         23rd




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                                               Motion

                Robert E. Antonacci II

                                                                   May 31

                        11:00 a.m.




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                                                                        , and it is further

                   ORDERED that service of a copy of this Order to Show Cause, together with the papers on

                upon which it was made, be made by

                   (1) by delivering a copy of the same to a person of suitable age and discretion at 5414 South

                Bay Road in the Town of Salina, County of Onondaga and State of New York on or before

                May 26, 2023;

                    (2) by mailing a copy of the same to the Defendant by USPS Priority Mail with Tracking

                to the following addresses on or before May 24, 2023:

                        (a) CWP Syracuse I, LLC, c/o David Kaye, 230 5th Avenue, New York, NY 10001;

                        (b) CWP Syracuse I, LLC, 198 Ocean Avenue, Woodmere, NY 11598;

                        (c) CWP Syracuse I, LLC, c/o R. Joseph Noble, Esq., Williams Mullen Center,
                            200 South 10th Street, Suite 1600, Richmond, VA 23219, and

                    (3) by serving a copy of the same upon the New York State Department of State on or

                before May 24, 2023, and it is further




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                      ORDERED that answering papers, if any, are to be served upon counsel for the

                  Plaintiff no later than May 30, 2023 and reply papers, if any, are to be served upon counsel for the

                  Defendant no later than May 31, 2023 at 9:00 a.m., and it is further

                       ORDERED that the personal appearance of counsel is required on the return date.


                  Dated: May 23, 2023


                                                             ENTER,



                                                             ____________________________
                                                             Hon. Robert E. Antonacci II, J.S.C.




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   HON. SYLVIA O. HINDS-RADIX                  THE CITY OF NEW YORK                                 JOSHUA P. RUBIN
   Corporation Counsel                                                                                      Senior Counsel
                                              LAW DEPARTMENT                                        Affirmative Litigation
                                                                                                    Phone: 212-356-2269
                                                  100 CHURCH STREET                                     Fax: 212-356-2038
                                                  NEW YORK, NY 10007                            email: jrubin@law.nyc.gov




                                                                                     June 8, 2023


          VIA NYSCEF AND E-MAIL

          Hon. Robert E. Antonacci II
          Supreme Court of the State of New York
          401 Montgomery Street
          Syracuse, New York 13202
          kbeeman@nycourts.gov

          Re:      In the Matter of the Application of the County of Onondaga, et al v. The City of
                   New York, et al, Index No. 005214/2023 (“Action 1”); Town of Salina v. CWP
                   Syracuse I LLC, Index No. 005226/2023 (“Action 2”).

          Dear Justice Antonacci,

                 We are counsel to Respondent-Defendant the City of New York and related parties (“City
          Respondents”) in the above-referenced actions. I write with consent of all parties to both actions
          to request an adjustment of the briefing schedule in advance of the appearance date on the
          pending motions. The parties understand that the existing Temporary Restraining Orders shall
          continue pending argument on both motions and that briefing in each case shall follow the same
          schedule.

                   Accordingly, the parties request that the Court approve the following schedule for both
          cases:

                      •   Opposition papers by Respondents-Defendants shall be filed on or before June 14,
                          2023;

                      •   Reply papers by Petitioners-Plaintiffs and the Town shall be filed on or before
                          June 21, 2023; and

                      •   Oral argument on both cases shall take place as currently scheduled on June 26,
                          2023.




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               We thank the Court for its attention to this matter.


                                                     Respectfully submitted,


                                                     /s/ Josh P. Rubin
                                                     Joshua P. Rubin
                                                     Senior Counsel, Affirmative Litigation




                  SO ORDERED.



                                                      ____________________________
                                                      Hon. Robert E. Antonacci II, J.S.C.
                                                      Dated: June 9, 2023




                                                         2


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